                Case 20-10343-LSS              Doc 952       Filed 07/06/20         Page 1 of 23




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                              Chapter 11

BOY SCOUTS OF AMERICA AND                                           Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,1
                                                                    Jointly Administered
                                Debtors.

                                      CERTIFICATE OF SERVICE

                  I hereby certify that on July 2, 2020, the Future Claimants’ Representative’s

Objection to Lianfen Qian’s Motion for Relief From the Automatic Stay to Proceed Against

Insurance Policies [Docket No. 940] was caused to be served (i) via electronic mail upon the

parties identified in Exhibit A and (ii) via first class mail unless otherwise indicated upon the parties

identified in Exhibit B. I further certify that the Joinder of the Future Claimants’ Representative to

the Objection of the Tort Claimants’ Committee to Hartford’s Motion for Reconsideration, in Part,

of the Court’s Order (I) Appointing Mediators, (II) Referring Certain Matters to Mediation, and

(III) Granting Related Relief [Docket No. 951] was caused to be served (i) on July 3, 2020 via

electronic mail upon the parties identified in Exhibit C and (ii) on July 6, 2020 via first class mail

unless otherwise indicated upon the parties identified in Exhibit D.

Dated: July 6, 2020                           YOUNG CONAWAY STARGATT & TAYLOR, LLP

                                               /s/ Robert S. Brady
                                              Robert S. Brady (No. 2847)
                                              Rodney Square
                                              1000 North King Street
                                              Wilmington, Delaware 19801
                                              Telephone: (302) 571-6600
                                              Facsimile: (302) 571-1253
                                              Email: rbrady@ycst.com

                                              Counsel to the Future Claimants’ Representative

1
 The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.

26734619.1
             Case 20-10343-LSS   Doc 952   Filed 07/06/20   Page 2 of 23




                                   EXHIBIT A




26734619.1
                         Case 20-10343-LSS              Doc 952        Filed 07/06/20        Page 3 of 23


Cathcart, Casey

From:                                 Cathcart, Casey
Sent:                                 Thursday, July 2, 2020 3:28 PM
To:                                   'kelbon@blankrome.com'; 'agoldstein@furrcohen.com'
Cc:                                   Patton, James; Harron, Edwin; Zieg, Sharon; Brady, Robert
Subject:                              In re: Boy Scouts of America (20-10343 (LSS)) - FCR's Objection to Lianfen Qian’s Stay
                                      Relief Motion
Attachments:                          940 - Qian Objection.pdf; cleandocs.cld



Attached please find the Future Claimants’ Representative’s Objection to Lianfen Qian’s Motion for Relief
From the Automatic Stay to Proceed Against Insurance Policies, filed today in the above-referenced case at
docket number 940. Thank you.


                 Casey S. Cathcart, Paralegal
                 Young Conaway Stargatt & Taylor, LLP
                 Rodney Square, 1000 North King Street
                 Wilmington, Delaware 19801
                 P: 302.571.4753 | F: 302.576.3393
                 ccathcart@ycst.com | www.youngconaway.com

This message may contain confidential attorney-client communications or other protected information. If you believe you are not an
intended recipient (even if this message was sent to your e-mail address), you may not use, copy, or retransmit it. If you believe you
received this message by mistake, please notify us by return e-mail, and then delete this message. Thank you for your cooperation.




                                                                   1
             Case 20-10343-LSS   Doc 952   Filed 07/06/20   Page 4 of 23




                                   EXHIBIT B




26734619.1
                         Case 20-10343-LSS   Doc 952   Filed 07/06/20   Page 5 of 23



HAND DELIVERY                                          Thomas A. Labuda
Derek C. Abbott, Andrew R. Remming,                    Michael C. Andolina
Joseph C. Barsalona II, Eric W. Moats,
                                                       Matthew E. Linder
and Paige N. Topper
Morris, Nichols, Arsht & Tunnell LLP                   Sidley Austin LLP
1201 North Market Street, 16th Floor                   One South Dearborn Street
Wilmington, DE 19801                                   Chicago, IL 60603

                                                       HAND DELIVERY
Jessica C. K. Boelter                                  Office of the United States Trustee
Sidley Austin LLP                                      Attn: David L. Buchbinder and Hannah M. McCollum
787 Seventh Avenue                                     844 King Street, Suite 2207
New York, NY 10019                                     Lockbox 35
                                                       Wilmington, DE 19801

Cassandra Burton
                                                       Paul W. Carey
Pension Benefit Guaranty Corporation
                                                       Mirick, O’Connell, DeMallie & Lougee, LLP
Office of the General Counsel
                                                       100 Front Street
1200 K Street, N.W.
                                                       Worcester, MA 01608
Washington, D.C. 20005-4026

                                                       Jeffrey E. Bjork
Kate P. Foley                                          Kimberly A. Posin
Mirick, O’Connell, DeMallie & Lougee, LLP              Nicholas J. Messana
1800 West Park Drive, Suite 400                        Latham & Watkins LLP
Westborough, MA 01581                                  355 South Grand Avenue, Suite 100
                                                       Los Angeles, CA 90071-1560

                                                       HAND DELIVERY
Adam J. Goldberg                                       Michael J. Merchant and Brett M. Haywood
Latham & Watkins LLP                                   Richards, Layton & Finger, P.A.
885 Third Avenue                                       One Rodney Square
New York, NY 10022-4834                                920 North King Street
                                                       Wilmington, DE 19801

HAND DELIVERY
                                                       Bruce R. Ewing
Eric Lopez Schnabel
                                                       Eric Lopez Schnabel
Alessandra Glorioso
                                                       Dorsey & Whitney LLP
Dorsey & Whitney (Delaware) LLP
                                                       51 West 52nd Street
300 Delaware Avenue, Suite 1010
                                                       New York, NY 10019
Wilmington, DE 19801

HAND DELIVERY
Brett D. Fallon                                        Margaret M. Anderson
Brya M. Keilson                                        Fox Swibel Levin & Carroll LLP
Morris James LLP                                       200 W. Madison Street, Suite 3000
500 Delaware Avenue, Suite 1500                        Chicago, IL 60606
Wilmington, DE 19801
                          Case 20-10343-LSS   Doc 952   Filed 07/06/20   Page 6 of 23




Riley C. Walter                                         Jan T. Perkins
Wanger Jones Helsley, PC                                Baker Manock & Jensen, PC
265 E. River Park Circle, Suite 310                     5260 North Palm Avenue, Suite 421
Fresno, CA 93720                                        Fresno, CA 93704


                                                        Louis R. Strubeck, Jr.
Michael Marchese                                        Kristian W. Gluck
Sequoia Council of BoyScouts, Inc.                      Ryan E. Manns
6005 N. Tamera Avenue                                   Norton Rose Fulbright US LLP
Fresno, CA 93711                                        2200 Ross Avenue, Suite 3600
                                                        Dallas, TX 75201-7932

HAND DELIVERY
Matthew P. Ward                                         Synchrony Bank
Morgan L. Patterson                                     c/o PRA Receivables Management, LLC
Womble Bond Dickinson (US) LLP                          P.O. Box 41021
1313 North Market Street, Suite 1200                    Norfolk, VA 23541
Wilmington, DE 19801


John P. Dillman                                         Eric S. Goldstein
Linebarger Goggan Blair & Sampson, LLP                  Shipman & Goodwin LLP
P.O. Box 3064                                           One Constitution Plaza
Houston, TX 77253-3064                                  Hartford, CT 06103-1919


HAND DELIVERY
David M. Fournier                                       Harris B. Winsberg
Marcy J. McLaughlin Smith
                                                        Troutman Sanders LLP
Pepper Hamilton LLP
Hercules Plaza                                          600 Peachtree St. NE, Suite 3000
1313 Market Street, Suite 5100                          Atlanta, GA 30308
Wilmington, DE 19801


Matthew G. Roberts                                      Todd C. Jacobs
Troutman Sanders LLP                                    Bradley Riley Jacobs PC
600 Peachtree St. NE, Suite 3000                        320 W. Ohio Street, Suite 3W
Atlanta, GA 30308                                       Chicago, IL 60654



Jason P. Hood                                           Daniel W. Van Horn
Davies Hood PLLC                                        Butler Snow LLP
22 North Front Street, Suite 620                        P.O. Box 171443
Memphis, TN 38103-2100                                  Memphis, TN 38187-1443
                       Case 20-10343-LSS      Doc 952   Filed 07/06/20   Page 7 of 23




Craig T. Fessenden                                      Raeann Warner
Pension Benefit Guaranty Corporation                    Thomas C. Crumplar
Office of the General Counsel                           Jacobs & Crumplar, P.A.
1200 K Street, N.W.                                     750 Shipyard Drive, Suite 200
Washington, D.C. 20005-4026                             Wilmington, DE 19801


Thomas S. Neuberger
                                                        Elizabeth Weller
Stephen J. Neuberger
                                                        Linebarger Goggan Blair & Sampson, LLP
The Neuberger Firm
                                                        2777 N. Stemmons Freeway, Suite 1000
17 Harlech Drive
                                                        Dallas, TX 75207
Wilmington, DE 19807


                                                        Missouri Department of Revenue
Bruce W. Leaverton
                                                        Bankruptcy Unit
Karr Tuttle Campbell, P.S.
                                                        Attn: Steven A. Ginther
701 Fifth Avenue, Suite 3300
                                                        P.O. Box 475
Seattle, WA 98104
                                                        Jefferson City, MO 65105-0475


Richard J. Bernard                                      Victor Vilaplana
Foley & Lardner LLP                                     Foley & Lardner LLP
90 Park Avenue                                          3579 Valley Centre Drive, Suite 300
New York, NY 10016                                      San Diego, CA 92130


                                                        HAND DELIVERY
                                                        Patrick A. Jackson
John A. Vos
                                                        Kaitlin W. MacKenzie
1430 Lincoln Avenue
                                                        Faegre Drinker Biddle & Reath LLP
San Rafael, CA 94901
                                                        222 Delaware Avenue, Suite 1410
                                                        Wilmington, DE 19801

                                                        Deb Secrest
Jay Jaffe                                               Commonwealth of Pennsylvania
Faegre Drinker Biddle & Reath LLP                       Department of Labor and Industry
600 E. 96th Street, Suite 600                           Collections Support Unit
Indianapolis, IN 46240                                  651 Boas Street, Room 925
                                                        Harrisburg, PA 17121

HAND DELIVERY                                           HAND DELIVERY
Brian J. McLaughlin                                     Jeffrey R. Waxman
Rachel B. Mersky                                        Eric J. Monzo
Monzack Mersky McLaughlin and Browder, P.A.             Morris James LLP
1201 N. Orange Street, Suite 400                        500 Delaware Avenue, Suite 1500
Wilmington, DE 19801                                    Wilmington, DE 19801
                        Case 20-10343-LSS   Doc 952   Filed 07/06/20    Page 8 of 23




Angela Z. Miller                                      James P. Ruggeri, Joshua D. Weinberg,
Phillips Lytle LLP                                    Michele Backus Konigsberg, and Abigail W. Williams
One Canalside                                         Shipman & Goodwin LLP
125 Main Street                                       1875 K Street NW, Suite 600
Buffalo, NY 14203                                     Washington, DC 20006-1251

HAND DELIVERY
Erin R. Fay                                           Tara LeDay
Gregory J. Flasser                                    McCreary, Veselka, Bragg & Allen, P.C.
Bayard, P.A.                                          P. O. Box 1269
600 N. King Street, Suite 400                         Round Rock, TX 78680
Wilmington, DE 19801

HAND DELIVERY                                         Susan N.K. Gummow
Deirdre M. Richards                                   Igor Shleypak
Fineman Krekstein & Harris PC                         Foran Glennon Palandech Ponzi & Rudloff, P.C.
1300 N. King Street                                   222 N. LaSalle Sreet, Suite 1400
Wilmington, DE 19801                                  Chicago, IL 60614

                                                      Richard G. Mason
Craig Goldblatt                                       Douglas K. Mayer
Wilmer Cutler Pickering Hale and Dorr LLP             Joseph C. Celentino
1875 Pennsylvania Avenue, N.W.                        Wachtell, Lipton, Rosen & Katz
Washington, DC 20006                                  51 West 52nd Street
                                                      New York, NY 10019

Tad Thomas
                                                      Paul A. Fanning
Louis C. Schneider
                                                      Ward and Smith, P.A.
Thomas Law Offices, PLLC
                                                      P.O. Box 8088
9418 Norton Commons Blvd., Suite 200
                                                      Greenville, NC 27835-80
Louisville, KY 40059

                                                      HAND DELIVERY
Bradley L. Rice                                       Mark L. Desgrosseilliers
Nagel Rice LLP                                        Chipman, Brown, Cicero & Cole, LLP
103 Eisenhower Parkway                                Hercules Plaza
Roseland, NJ 07068                                    1313 North Market Street, Suite 5400
                                                      Wilmington, DE 19801

                                                      Thomas Moers Mayer, Rachael Ringer,
Cindy L. Robinson
                                                      David E. Blabey, Jr., Jennifer R. Sharret,
Doug Mahoney
                                                      and Megan M. Wasson
Tremont Sheldon Robinson Mahoney P.C.
                                                      Kramer Levin Naftalis & Frankel LLP
64 Lyon Terrace
                                                      1177 Avenue of the Americas
Bridgeport, CT 06604
                                                      New York, NY 10036
                        Case 20-10343-LSS        Doc 952   Filed 07/06/20    Page 9 of 23



HAND DELIVERY
Kurt F. Gwynne                                             Joseph H. Lemkin
Katelin A Morales                                          Stark & Stark, P.C.
Reed Smith LLP                                             P.O. Box 5315
1201 N. Market Street, Suite 1500                          Princeton, NJ 08543
Wilmington, DE 19801

HAND DELIVERY
James I. Stang, Robert B. Orgel, James E. O’Neill,         Gerald D. Jowers, Jr.
John W. Lucas, and Ilan D. Scharf                          Janet, Janet & Scuggs, LLC
Pachulski Stang Ziehl & Jones LLP                          500 Taylor Street, Suite 301
919 N. Market Street, 17th Floor                           Columbia, SC 29201
Wilmington, DE 19801

HAND DELIVERY
Karen C. Bifferato                                         Michael P. Pompeo
Kelly M. Conlan                                            Faegre Drinker Biddle & Reath LLP
Connolly Gallagher LLP                                     1177 Avenue of the Americas, 41st Floor
1201 N. Market Street, 20th Floor                          New York, NY 10036-2714
Wilmington, DE 19801

HAND DELIVERY                                              HAND DELIVERY
William P. Bowden                                          David M. Klauder
Ashby & Geddes, P.A.                                       Bielli & Klauder, LLC
500 Delaware Avenue, 8th Floor                             1204 N. King Street
Wilmington, DE 19801                                       Wilmington, DE 19801

Michael T. Pfau
Jason P. Amala                                             Alan C. Hochheiser
Vincent T. Nappo                                           Maurice Wutscher LLP
Pfau Cochran Vertetis Amala PLLC                           23611 Chagrin Blvd., Suite 207
403 Columbia Street, Suite 500                             Beachwood, OH 44122
Seattle, WA 98104

Anne Andrews                                               Anthony M. Saccullo
John C. Thornton                                           Mary E. Augustine
Andrews & Thornton                                         A.M. Saccullo Legal, LLC
4701 Von Karman Avenue, Suite 300                          27 Crimson King Drive
Newport Beach, CA 92660                                    Bear, DE 19701

                                                           Ryan S. Smethurst
Matthew S. Sorem                                           Margaret H. Warner
Nicolaides Fink Thorpe Michaelides Sullivan LLP            McDermott Will & Emery LLP
10 S. Wacker Drive, 21st Floor                             The McDermott Building
Chicago, IL 60606                                          500 North Capitol Street, NW
                                                           Washington, DC 20001-1531
                       Case 20-10343-LSS       Doc 952   Filed 07/06/20   Page 10 of 23




David A. Lebowitz                                        Shawn M. Christianson
Kaufman Lieb Lebowitz & Frick LLP                        Buchalter, A Professional Corporation
10 East 40th Street, Suite 3307                          55 Second Street, 17th Floor
New York, NY 10016                                       San Francisco, CA 94105-3493


HAND DELIVERY
                                                         Tancred Schiavoni
Stamatios Stamoulis
                                                         O’Melveny & Myers LLP
Richard C. Weinblatt
                                                         Times Square Tower
Stamoulis & Weinblatt LLC
                                                         7 Times Square
800 N. West Street, Suite 800
                                                         New York, NY 10036-6537
Wilmington, DE 19801

HAND DELIVERY                                            Britton C. Lewis
Michael J. Joyce                                         Carruthers & Roth, P.A.
The Law Offices of Joyce, LLC                            235 N. Edgeworth Street
1225 King Street, Suite 800                              P.O. Box 540
Wilmington, DE 19801                                     Greensboro, NC 27401


Kevin Coughlin, Lorraine Armenti, Michael Hrinewski
                                                         Todd M. Brooks
Coughlin Duffy, LLP
                                                         Whiteford Taylor & Preston LLP
350 Mount Kemble Avenue
                                                         Seven Saint Paul Street, 15th Floor
P.O. Box 1917
                                                         Baltimore, MD 21202-1626
Morristown, NJ 0796

HAND DELIVERY                                            Christopher S. Murphy, Assistant Attorney General
Richard W. Riley                                         c/o Sherri K. Simpson, Paralegal
Whiteford Taylor & Preston LLC                           Attorney General’s Office
The Renaissance Centre                                   Bankruptcy & Collections Division
405 North King Street, Suite 500                         P.O. Box 12548
Wilmington, DE 19801                                     Austin, TX 78711-2548

                                                         Douglas R. Gooding
HAND DELIVERY
                                                         Jonathan D. Marshall
R. Karl Hill
                                                         Michael J. Foley, Jr.
Seitz, Van Ogtrop & Green, P.A.
                                                         Choate, Hall & Stewart LLP
222 Delaware Avenue, Suite 1500
                                                         Two International Place
Wilmington, DE 19801
                                                         Boston, MA 02110

Kim V. Marrkand
Nancy D. Adams                                           William E. Winfield
Laura Bange Stephens                                     Nelson Comis Kettle & Kinney LLP
Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C.      300 E. Esplanade Drive, Suite 1170
One Financial Center                                     Oxnard, CA 93036
Boston, MA 02111
                       Case 20-10343-LSS        Doc 952   Filed 07/06/20   Page 11 of 23



HAND DELIVERY
Richard A. Barkasy                                        Henry C. Shelton, III
Kristi J. Doughty                                         Adams and Reese LLP
Schnader Harrison Segal & Lewis LLP                       6075 Poplar Avenue, Suite 700
824 N. Market Street, Suite 800                           Memphis, TN 38119
Wilmington, DE 19801

                                                          HAND DELIVERY
James Tobia
                                                          Bruce W. McCullough
The Law Office of James Tobia, LLC
                                                          Bodell Bové, LLC
1716 Wawaset Street
                                                          1225 N. King Street, Suite 1000
Wilmington, DE 19806
                                                          Wilmington, DE 19801

Michael J. Pankow
                                                          D.J.S.
Joshua M. Hantman
                                                          #795743 D-G-6
Andrew J. Roth-Moore
                                                          Clallam Bay Corrections Center
Brownstein Hyatt Farber Schreck, LLP
                                                          1830 Eagle Crest Way
410 17th Street, Suite 2200
                                                          Clallam Bay, WA 98326
Denver, CO 80202

N.E.K.                                                    HAND DELIVERY
#402985 D-G-5                                             Domenic E. Pacitti
Clallam Bay Corrections Center                            Klehr Harrison Harvey Branzburg LLP
1830 Eagle Crest Way                                      919 Market Street, Suite 1000
Clallam Bay, WA 98326                                     Wilmington, DE 19801


                                                          Stephen Crew
Morton R. Branzburg
                                                          Peter Janci
Klehr Harrison Harvey Branzburg LLP
                                                          Crew Janci LLP
1835 Market Street, Suite 1400
                                                          1200 NW Naito Parkway, Suite 500
Philadelphia, PA 19103
                                                          Portland, OR 97209

                                                          Larry R. Boyd
HAND DELIVERY
                                                          Chad Timmons
William D. Sullivan
                                                          Emily M. Hahn
Sullivan Hazeltine Allinson LLC
                                                          Abernathy, Roeder, Boyd & Hullett, P.C.
919 North Market Street, Suite 420
                                                          1700 Redbud Blvd, Suite 300
Wilmington, DE 19801
                                                          McKinney, TX 75069

                                                          HAND DELIVERY
Michael G. Kelly
                                                          Regina Stango Kelbon
Kelly, Morgan, Dennis, Corzine & Hansen, P.C.
                                                          Blank Rome LLP
P.O. Box 1311
                                                          1201 N. Market Street, Suite 800
Odessa, TX 79760-1311
                                                          Wilmington, DE 19801
                      Case 20-10343-LSS   Doc 952   Filed 07/06/20   Page 12 of 23




Alvin S. Goldstein
Furr Cohen
2255 Glades Road, Suite 301E
Boca Raton, FL 33431
             Case 20-10343-LSS   Doc 952   Filed 07/06/20   Page 13 of 23




                                   EXHIBIT C




26734619.1
                        Case 20-10343-LSS              Doc 952         Filed 07/06/20        Page 14 of 23


Cathcart, Casey

From:                                 Cathcart, Casey
Sent:                                 Friday, July 3, 2020 6:25 PM
To:                                   'efay@bayardlaw.com'; 'gflasser@bayardlaw.com'; 'jruggeri@goodwin.com';
                                      'jweinberg@goodwin.com'; 'awilliams@goodwin.com'; 'egoldstein@goodwin.com';
                                      'tschiavoni@omm.com'; 'jpanchok-berry@omm.com'; 'stamoulis@swdelaw.com'
Cc:                                   Patton, James; Harron, Edwin; Zieg, Sharon; Brady, Robert; Kochenash, Jared W.
Subject:                              In re: Boy Scouts of America (20-10343 (LSS)) - FCR's Joinder in TCC's Objection to
                                      Motion for Reconsideration
Attachments:                          0951 - FCR Joinder.pdf


Attached please find the Joinder of the Future Claimants' Representative to the Objection of the Tort Claimants'
Committee to Hartford's Motion for Reconsideration, in Part, of the Court's Order (I) Appointing Mediators,
(II) Referring Certain Matters to Mediation, and (III) Granting Related Relief, filed today in the above-
referenced case at docket number 951. Thank you.


                 Casey S. Cathcart, Paralegal
                 Young Conaway Stargatt & Taylor, LLP
                 Rodney Square, 1000 North King Street
                 Wilmington, Delaware 19801
                 P: 302.571.4753 | F: 302.576.3393
                 ccathcart@ycst.com | www.youngconaway.com

This message may contain confidential attorney-client communications or other protected information. If you believe you are not an
intended recipient (even if this message was sent to your e-mail address), you may not use, copy, or retransmit it. If you believe you
received this message by mistake, please notify us by return e-mail, and then delete this message. Thank you for your cooperation.




                                                                   1
             Case 20-10343-LSS   Doc 952   Filed 07/06/20   Page 15 of 23




                                   EXHIBIT D




26734619.1
                         Case 20-10343-LSS   Doc 952   Filed 07/06/20   Page 16 of 23



HAND DELIVERY                                          Thomas A. Labuda
Derek C. Abbott, Andrew R. Remming,                    Michael C. Andolina
Joseph C. Barsalona II, Eric W. Moats,
                                                       Matthew E. Linder
and Paige N. Topper
Morris, Nichols, Arsht & Tunnell LLP                   Sidley Austin LLP
1201 North Market Street, 16th Floor                   One South Dearborn Street
Wilmington, DE 19801                                   Chicago, IL 60603

                                                       HAND DELIVERY
Jessica C. K. Boelter                                  Office of the United States Trustee
Sidley Austin LLP                                      Attn: David L. Buchbinder and Hannah M. McCollum
787 Seventh Avenue                                     844 King Street, Suite 2207
New York, NY 10019                                     Lockbox 35
                                                       Wilmington, DE 19801

Cassandra Burton
                                                       Paul W. Carey
Pension Benefit Guaranty Corporation
                                                       Mirick, O’Connell, DeMallie & Lougee, LLP
Office of the General Counsel
                                                       100 Front Street
1200 K Street, N.W.
                                                       Worcester, MA 01608
Washington, D.C. 20005-4026

                                                       Jeffrey E. Bjork
Kate P. Foley                                          Kimberly A. Posin
Mirick, O’Connell, DeMallie & Lougee, LLP              Nicholas J. Messana
1800 West Park Drive, Suite 400                        Latham & Watkins LLP
Westborough, MA 01581                                  355 South Grand Avenue, Suite 100
                                                       Los Angeles, CA 90071-1560

                                                       HAND DELIVERY
Adam J. Goldberg                                       Michael J. Merchant and Brett M. Haywood
Latham & Watkins LLP                                   Richards, Layton & Finger, P.A.
885 Third Avenue                                       One Rodney Square
New York, NY 10022-4834                                920 North King Street
                                                       Wilmington, DE 19801

HAND DELIVERY
                                                       Bruce R. Ewing
Eric Lopez Schnabel
                                                       Eric Lopez Schnabel
Alessandra Glorioso
                                                       Dorsey & Whitney LLP
Dorsey & Whitney (Delaware) LLP
                                                       51 West 52nd Street
300 Delaware Avenue, Suite 1010
                                                       New York, NY 10019
Wilmington, DE 19801

HAND DELIVERY
Brett D. Fallon                                        Margaret M. Anderson
Brya M. Keilson                                        Fox Swibel Levin & Carroll LLP
Morris James LLP                                       200 W. Madison Street, Suite 3000
500 Delaware Avenue, Suite 1500                        Chicago, IL 60606
Wilmington, DE 19801
                        Case 20-10343-LSS   Doc 952   Filed 07/06/20   Page 17 of 23




Riley C. Walter                                       Jan T. Perkins
Wanger Jones Helsley, PC                              Baker Manock & Jensen, PC
265 E. River Park Circle, Suite 310                   5260 North Palm Avenue, Suite 421
Fresno, CA 93720                                      Fresno, CA 93704


                                                      Louis R. Strubeck, Jr.
Michael Marchese                                      Kristian W. Gluck
Sequoia Council of BoyScouts, Inc.                    Ryan E. Manns
6005 N. Tamera Avenue                                 Norton Rose Fulbright US LLP
Fresno, CA 93711                                      2200 Ross Avenue, Suite 3600
                                                      Dallas, TX 75201-7932

HAND DELIVERY
Matthew P. Ward                                       Synchrony Bank
Morgan L. Patterson                                   c/o PRA Receivables Management, LLC
Womble Bond Dickinson (US) LLP                        P.O. Box 41021
1313 North Market Street, Suite 1200                  Norfolk, VA 23541
Wilmington, DE 19801


John P. Dillman                                       Eric S. Goldstein
Linebarger Goggan Blair & Sampson, LLP                Shipman & Goodwin LLP
P.O. Box 3064                                         One Constitution Plaza
Houston, TX 77253-3064                                Hartford, CT 06103-1919


HAND DELIVERY
David M. Fournier                                     Harris B. Winsberg
Marcy J. McLaughlin Smith
                                                      Troutman Pepper Hamilton Sanders LLP
Troutman Pepper Hamilton Sanders LLP
Hercules Plaza, Suite 5100                            600 Peachtree St. NE, Suite 3000
1313 Market Street                                    Atlanta, GA 30308
Wilmington, DE 19801


Matthew G. Roberts                                    Todd C. Jacobs
Troutman Pepper Hamilton Sanders LLP                  Bradley Riley Jacobs PC
600 Peachtree St. NE, Suite 3000                      320 W. Ohio Street, Suite 3W
Atlanta, GA 30308                                     Chicago, IL 60654



Jason P. Hood                                         Daniel W. Van Horn
Davies Hood PLLC                                      Butler Snow LLP
22 North Front Street, Suite 620                      P.O. Box 171443
Memphis, TN 38103-2100                                Memphis, TN 38187-1443
                       Case 20-10343-LSS   Doc 952   Filed 07/06/20   Page 18 of 23




Craig T. Fessenden                                   Raeann Warner
Pension Benefit Guaranty Corporation                 Thomas C. Crumplar
Office of the General Counsel                        Jacobs & Crumplar, P.A.
1200 K Street, N.W.                                  750 Shipyard Drive, Suite 200
Washington, D.C. 20005-4026                          Wilmington, DE 19801


Thomas S. Neuberger
                                                     Elizabeth Weller
Stephen J. Neuberger
                                                     Linebarger Goggan Blair & Sampson, LLP
The Neuberger Firm
                                                     2777 N. Stemmons Freeway, Suite 1000
17 Harlech Drive
                                                     Dallas, TX 75207
Wilmington, DE 19807


                                                     Missouri Department of Revenue
Bruce W. Leaverton
                                                     Bankruptcy Unit
Karr Tuttle Campbell, P.S.
                                                     Attn: Steven A. Ginther
701 Fifth Avenue, Suite 3300
                                                     P.O. Box 475
Seattle, WA 98104
                                                     Jefferson City, MO 65105-0475


Richard J. Bernard                                   Victor Vilaplana
Foley & Lardner LLP                                  Foley & Lardner LLP
90 Park Avenue                                       3579 Valley Centre Drive, Suite 300
New York, NY 10016                                   San Diego, CA 92130


                                                     HAND DELIVERY
                                                     Patrick A. Jackson
John A. Vos
                                                     Kaitlin W. MacKenzie
1430 Lincoln Avenue
                                                     Faegre Drinker Biddle & Reath LLP
San Rafael, CA 94901
                                                     222 Delaware Avenue, Suite 1410
                                                     Wilmington, DE 19801

                                                     Deb Secrest
Jay Jaffe                                            Commonwealth of Pennsylvania
Faegre Drinker Biddle & Reath LLP                    Department of Labor and Industry
600 E. 96th Street, Suite 600                        Collections Support Unit
Indianapolis, IN 46240                               651 Boas Street, Room 925
                                                     Harrisburg, PA 17121

HAND DELIVERY                                        HAND DELIVERY
Brian J. McLaughlin                                  Jeffrey R. Waxman
Rachel B. Mersky                                     Eric J. Monzo
Monzack Mersky McLaughlin and Browder, P.A.          Morris James LLP
1201 N. Orange Street, Suite 400                     500 Delaware Avenue, Suite 1500
Wilmington, DE 19801                                 Wilmington, DE 19801
                       Case 20-10343-LSS    Doc 952   Filed 07/06/20   Page 19 of 23



                                                      James P. Ruggeri
Angela Z. Miller
                                                      Joshua D. Weinberg
Phillips Lytle LLP
                                                      Abigail W. Williams
One Canalside
                                                      Shipman & Goodwin LLP
125 Main Street
                                                      1875 K Street NW, Suite 600
Buffalo, NY 14203
                                                      Washington, DC 20006-1251

HAND DELIVERY
Erin R. Fay                                           Tara LeDay
Gregory J. Flasser                                    McCreary, Veselka, Bragg & Allen, P.C.
Bayard, P.A.                                          P. O. Box 1269
600 N. King Street, Suite 400                         Round Rock, TX 78680
Wilmington, DE 19801

HAND DELIVERY                                         Susan N.K. Gummow
Deirdre M. Richards                                   Igor Shleypak
Fineman Krekstein & Harris PC                         Foran Glennon Palandech Ponzi & Rudloff, P.C.
1300 N. King Street                                   222 N. LaSalle Sreet, Suite 1400
Wilmington, DE 19801                                  Chicago, IL 60614

                                                      Richard G. Mason
Craig Goldblatt                                       Douglas K. Mayer
Wilmer Cutler Pickering Hale and Dorr LLP             Joseph C. Celentino
1875 Pennsylvania Avenue, N.W.                        Wachtell, Lipton, Rosen & Katz
Washington, DC 20006                                  51 West 52nd Street
                                                      New York, NY 10019

Tad Thomas
                                                      Paul A. Fanning
Louis C. Schneider
                                                      Ward and Smith, P.A.
Thomas Law Offices, PLLC
                                                      P.O. Box 8088
9418 Norton Commons Blvd., Suite 200
                                                      Greenville, NC 27835-80
Louisville, KY 40059

                                                      HAND DELIVERY
Bradley L. Rice                                       Mark L. Desgrosseilliers
Nagel Rice LLP                                        Chipman, Brown, Cicero & Cole, LLP
103 Eisenhower Parkway                                Hercules Plaza
Roseland, NJ 07068                                    1313 North Market Street, Suite 5400
                                                      Wilmington, DE 19801

                                                      Thomas Moers Mayer, Rachael Ringer,
Cindy L. Robinson
                                                      David E. Blabey, Jr., Jennifer R. Sharret,
Doug Mahoney
                                                      and Megan M. Wasson
Tremont Sheldon Robinson Mahoney P.C.
                                                      Kramer Levin Naftalis & Frankel LLP
64 Lyon Terrace
                                                      1177 Avenue of the Americas
Bridgeport, CT 06604
                                                      New York, NY 10036
                       Case 20-10343-LSS        Doc 952   Filed 07/06/20   Page 20 of 23



HAND DELIVERY
Kurt F. Gwynne                                            Joseph H. Lemkin
Katelin A Morales                                         Stark & Stark, P.C.
Reed Smith LLP                                            P.O. Box 5315
1201 N. Market Street, Suite 1500                         Princeton, NJ 08543
Wilmington, DE 19801

HAND DELIVERY
James I. Stang, Robert B. Orgel, James E. O’Neill,        Gerald D. Jowers, Jr.
John W. Lucas, and Ilan D. Scharf                         Janet, Janet & Scuggs, LLC
Pachulski Stang Ziehl & Jones LLP                         500 Taylor Street, Suite 301
919 N. Market Street, 17th Floor                          Columbia, SC 29201
Wilmington, DE 19801

HAND DELIVERY
Karen C. Bifferato                                        Michael P. Pompeo
Kelly M. Conlan                                           Faegre Drinker Biddle & Reath LLP
Connolly Gallagher LLP                                    1177 Avenue of the Americas, 41st Floor
1201 N. Market Street, 20th Floor                         New York, NY 10036-2714
Wilmington, DE 19801

HAND DELIVERY                                             HAND DELIVERY
William P. Bowden                                         David M. Klauder
Ashby & Geddes, P.A.                                      Bielli & Klauder, LLC
500 Delaware Avenue, 8th Floor                            1204 N. King Street
Wilmington, DE 19801                                      Wilmington, DE 19801

Michael T. Pfau
Jason P. Amala                                            Alan C. Hochheiser
Vincent T. Nappo                                          Maurice Wutscher LLP
Pfau Cochran Vertetis Amala PLLC                          23611 Chagrin Blvd., Suite 207
403 Columbia Street, Suite 500                            Beachwood, OH 44122
Seattle, WA 98104

Anne Andrews                                              Anthony M. Saccullo
John C. Thornton                                          Mary E. Augustine
Andrews & Thornton                                        A.M. Saccullo Legal, LLC
4701 Von Karman Avenue, Suite 300                         27 Crimson King Drive
Newport Beach, CA 92660                                   Bear, DE 19701

                                                          Ryan S. Smethurst
Matthew S. Sorem                                          Margaret H. Warner
Nicolaides Fink Thorpe Michaelides Sullivan LLP           McDermott Will & Emery LLP
10 S. Wacker Drive, 21st Floor                            The McDermott Building
Chicago, IL 60606                                         500 North Capitol Street, NW
                                                          Washington, DC 20001-1531
                       Case 20-10343-LSS       Doc 952   Filed 07/06/20   Page 21 of 23




David A. Lebowitz                                        Shawn M. Christianson
Kaufman Lieb Lebowitz & Frick LLP                        Buchalter, A Professional Corporation
10 East 40th Street, Suite 3307                          55 Second Street, 17th Floor
New York, NY 10016                                       San Francisco, CA 94105-3493


HAND DELIVERY                                            Tancred Schiavoni
Stamatios Stamoulis                                      Janine Panchok-Berry
Richard C. Weinblatt                                     O’Melveny & Myers LLP
Stamoulis & Weinblatt LLC                                Times Square Tower
800 N. West Street, Suite 800                            7 Times Square
Wilmington, DE 19801                                     New York, NY 10036-6537

HAND DELIVERY                                            Britton C. Lewis
Michael J. Joyce                                         Carruthers & Roth, P.A.
The Law Offices of Joyce, LLC                            235 N. Edgeworth Street
1225 King Street, Suite 800                              P.O. Box 540
Wilmington, DE 19801                                     Greensboro, NC 27401


Kevin Coughlin, Lorraine Armenti, Michael Hrinewski
                                                         Todd M. Brooks
Coughlin Duffy, LLP
                                                         Whiteford Taylor & Preston LLP
350 Mount Kemble Avenue
                                                         Seven Saint Paul Street, 15th Floor
P.O. Box 1917
                                                         Baltimore, MD 21202-1626
Morristown, NJ 0796

HAND DELIVERY                                            Christopher S. Murphy, Assistant Attorney General
Richard W. Riley                                         c/o Sherri K. Simpson, Paralegal
Whiteford Taylor & Preston LLC                           Attorney General’s Office
The Renaissance Centre                                   Bankruptcy & Collections Division
405 North King Street, Suite 500                         P.O. Box 12548
Wilmington, DE 19801                                     Austin, TX 78711-2548

                                                         Douglas R. Gooding
HAND DELIVERY
                                                         Jonathan D. Marshall
R. Karl Hill
                                                         Michael J. Foley, Jr.
Seitz, Van Ogtrop & Green, P.A.
                                                         Choate, Hall & Stewart LLP
222 Delaware Avenue, Suite 1500
                                                         Two International Place
Wilmington, DE 19801
                                                         Boston, MA 02110

Kim V. Marrkand
Nancy D. Adams                                           William E. Winfield
Laura Bange Stephens                                     Nelson Comis Kettle & Kinney LLP
Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C.      300 E. Esplanade Drive, Suite 1170
One Financial Center                                     Oxnard, CA 93036
Boston, MA 02111
                       Case 20-10343-LSS        Doc 952   Filed 07/06/20   Page 22 of 23



HAND DELIVERY
Richard A. Barkasy                                        Henry C. Shelton, III
Kristi J. Doughty                                         Adams and Reese LLP
Schnader Harrison Segal & Lewis LLP                       6075 Poplar Avenue, Suite 700
824 N. Market Street, Suite 800                           Memphis, TN 38119
Wilmington, DE 19801

                                                          HAND DELIVERY
James Tobia
                                                          Bruce W. McCullough
The Law Office of James Tobia, LLC
                                                          Bodell Bové, LLC
1716 Wawaset Street
                                                          1225 N. King Street, Suite 1000
Wilmington, DE 19806
                                                          Wilmington, DE 19801

Michael J. Pankow
                                                          D.J.S.
Joshua M. Hantman
                                                          #795743 D-G-6
Andrew J. Roth-Moore
                                                          Clallam Bay Corrections Center
Brownstein Hyatt Farber Schreck, LLP
                                                          1830 Eagle Crest Way
410 17th Street, Suite 2200
                                                          Clallam Bay, WA 98326
Denver, CO 80202

N.E.K.                                                    HAND DELIVERY
#402985 D-G-5                                             Domenic E. Pacitti
Clallam Bay Corrections Center                            Klehr Harrison Harvey Branzburg LLP
1830 Eagle Crest Way                                      919 Market Street, Suite 1000
Clallam Bay, WA 98326                                     Wilmington, DE 19801


                                                          Stephen Crew
Morton R. Branzburg
                                                          Peter Janci
Klehr Harrison Harvey Branzburg LLP
                                                          Crew Janci LLP
1835 Market Street, Suite 1400
                                                          1200 NW Naito Parkway, Suite 500
Philadelphia, PA 19103
                                                          Portland, OR 97209

                                                          Larry R. Boyd
HAND DELIVERY
                                                          Chad Timmons
William D. Sullivan
                                                          Emily M. Hahn
Sullivan Hazeltine Allinson LLC
                                                          Abernathy, Roeder, Boyd & Hullett, P.C.
919 North Market Street, Suite 420
                                                          1700 Redbud Blvd., Suite 300
Wilmington, DE 19801
                                                          McKinney, TX 75069


Michael G. Kelly                                          Amish R. Doshi
Kelly, Morgan, Dennis, Corzine & Hansen, P.C.             Doshi Legal Group, P.C.
P.O. Box 1311                                             1979 Marcus Avenue, Suite 210E
Odessa, TX 79760-1311                                     Lake Success, NY 11042
                      Case 20-10343-LSS   Doc 952   Filed 07/06/20   Page 23 of 23




Kami Quinn, Meredith Neely,                         Peter Muthig
Emily Grim, and Jasmine Chalashtori                 Maricopa County Attorney’s Office
Gilbert LLP                                         Civil Services Division
700 Pennsylvania Avenue, SE, Suite 400              225 W. Madison Street
Washington, DC 20003                                Phoenix, AZ 85003
